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COMMONWEALTH OF MASSACHUSETTS

 

 

SUFFOLK, SS SUPERIOR COURT DEPARTMENT

CIVIL ACTION
NO,
)
ALEX J. CORBETT, )
Plaintiff, )
v, )
)
CITY OF BOSTON, CRT FOOD & BEVERAGE, INC, )
D/B/A WHISKEY’S STEAKHOUSE BOSTON )
AND LUDWIG H. CASTILLO, )
Defendants )
__ =)
COMPLAINT
PARTIES

l, The Plaintiff, Alex J. Corbett (hereinafter “Plaintiff”) is a resident of the
Commonwealth of Massachusetts with a usual place of residence at 2 South
Whitney Street, #3, Boston, Suffolk County, Commonwealth of Massachusetts.

2. The Defendant, City of Boston (“Boston”), upon information and belief, is a
municipality created by the Massachusetts General Court pursuant to Art. II, Sec.
8 of the Massachusetts Constitution. Boston is located in the County of Suffolk,
Commonwealth of Massachusetts.

3. The Defendant, CRT Food & Beverage, Inc. d/b/a Whiskey’s Steakhouse Boston
(hereinafter “Whiskey’s”), upon information and belief, is Massachusetts
corporation duly organized and authorized to do business in the Commonwealth
of Massachusetts with a principal place of business located at 907 Boylston
Street, City of Boston, Suffolk County, Commonwealth of Massachusetts and an
establishment located at 885 Boylston Street, City of Boston, Suffolk County,
Commonwealth of Massachusetts..

4, The Defendant, Ludwig H. Castillo (hereinafter “Officer Castillo”), upon
information and belief, is a resident of the Commonwealth of Massachusetts with
a usual place of residence at
Rs. At all relevant times set forth herein, Castillo
was a police officer employed by Boston and acted under the color of state law as
a Boston police officer. The instant action is brought against Castillo individually
and as an employee of Boston.
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STATUTORY NOTICE REQUIREMENT

On or about November 26, 2012 Plaintiff notified Boston of its claim pursuant to
and in accordance with M.G.L.c. 258, § 4. This notice is a prerequisite to filing the
instant action against Boston. A copy of said notice is attached hereto as Exhibit 1.

FACTS RELEVANT TO ALL CLAIMS

5. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 4
as if fully set forth herein.

6. At approximately 12:15 a.m. on Saturday, February 18, 2012, Plaintiff was a
lawful patron waiting outside of Whiskey’s establishment, awaiting entry into the

establishment.
i. At approximately the same time, Officer Castillo was working a paid detail at
Whiskey’s. '
8. Suddenly and without provocation, Officer Castillo punched Plaintiff in the face

and subsequently placed Plaintiff under arrest for disorderly conduct, assault and
battery on a police officer and escape from an officer.

9, The entire incident occurred outside Whiskey’s and was captured on surveillance
videotape.

10. The video shows Plaintiff standing outside Whiskey’s with his hands at his side
when an agitated Officer Castillo charges toward Plaintiff, punches him in the
face, and then tackles Plaintiff to the ground where he remained with the aid of
Whiskey’s employees until other officers from the Boston Police arrived to assist
in the arrest of Plaintiff.

11. As aresult of the aforementioned, Plaintiff spent a night in jail as the Boston
Police Department, aided by Officer Castillo, filed an application for a criminal
complaint against Plaintiff for disorderly conduct, assault and battery on a police
officer and escape from an officer.

12. After reviewing the police report of the incident drafted by Officer Castillo, the
Clerk Magistrate of the Boston Municipal Court issued a Criminal Complaint
against Plaintiff.

13. Plaintiff appeared at the Boston Municipal Court as a result of the Criminal
Complaint issued against him. Immediately upon reviewing the surveillance
video from Whiskey’s of the alleged incident and after investigating the matter,
the Suffolk County District Attorney’s Office dismissed all charges against
Plaintiff.
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Upon information and belief, the Boston Police Department also commenced an
internal affairs investigation into the conduct of Officer Castillo based upon the
findings of the Suffolk County District Attorney’s Office.

As a result of the assault and battery by Officer Castillo and the Boston Police
Department’s negligence in properly supervising and training Officer Castillo,
including verifying the facts in Officer Castillo’s police report, Plaintiff suffered
significant personal injuries and was falsely charged with a Criminal Complaint.

From information and belief, Officer Castillo reported the incident to Plaintiff’s
school, the Massachusetts College of Pharmacy and Health Sciences, and/or
provided them with a copy of the false police report.

As a result of the false criminal charges filed against Plaintiff, and in Officer
Castillo’s police report, Plaintiff's school, Massachusetts College of Pharmacy
and Health Services, suspended Plaintiff for an entire semester causing his
graduation date to be postponed for an entire year, causing him to incur expenses
of having to live in Boston for another year, and causing him to lose a year of
gainful employment.

Plaintiff has sustained significant personal injuries, monetary damages and
irreparable harm as a result of the assault and battery and filing of false police
report by Officer Castillo, and the carelessness, recklessness and negligence of the
Boston Police Department.

COUNT I- VIOLATIONS OF 42 U.S.C. 81983
(As Against Officer Castillo and Boston) -

Plaintiff adopts by reference hereto paragraphs 1 through 18 as if fully set forth
herein,

Defendant, Officer Castillo, is and was a police officer employed by the
Defendant, Boston, and was at all times material acting within the scope of his
employment and under the color of state law.

Defendant, Boston, is a municipal corporation, and is charged, inter alia, with the
duty to supervise, manage and control its Police Department to prevent the
violation of the civil rights of its citizens.

At all material times, defendant Officer Castillo had a duty under the Fourteenth
Amendment to the United States Constitution to refrain from the use of excessive
force while arresting Plaintiff,

Notwithstanding that duty, Officer Castillo was then and there guilty of one or
more of the following wrongful acts:
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a. Using a degree of force that was excessive and unreasonable under the
circumstances by assaulting and battering Plaintiff;

b. Using unlawful means to effectuate the arrest of Plaintiff; and

C, Depriving Plaintiff of his right to be free from unwarranted and
unreasonable restraints on his person.

24. Asa direct and proximate result of Officer Castillo’s and Boston’s wrongful acts
or omissions to act, Plaintiff suffered damages to his person, pain, suffering,
disability, loss of income, mental anguish, humiliation, and other diverse injuries.

WHEREFORE, plaintiff demands judgment against defendants Officer Castillo
and Boston for their wrongful violations of Plaintiff's right to be free from the excessive
use of force under the Fourth and Fourteenth Amendments to the United States
Constitution, in the amount of $500,000.00 as and for compensatory damages, punitive
damages in an amount sufficient to deter such wrongful conduct in the future, plus
attorney's fees and costs, as provided by 42 U.S.C. § 1988.

COUNT II - MONETARY CLAIM FOR DAMAGES
(As Against Boston)

25, Plaintiff adopts by reference paragraphs 1 through 24 as if fully set forth herein,

26. Defendant Boston is a Massachusetts municipal corporation which operates,
administers and controls the City of Boston Police Department as one of its
executive branches.

27. Defendant Boston has established policies and procedures for its Police
Department regarding the use of force to prisoners and detainees.

28. In establishing these procedures, Boston had a duty under the Fourth and
Fourteenth Amendments to the United States Constitution to refrain from
enforcing or continuing in effect policies and procedures that created a substantial
likelihood that the general public would be subjected to the use of excessive force
by Boston’s Police Department officers.

29, Notwithstanding its mentioned duties, Boston was guilty of one or more of the
following wrongful acts or omissions to act in violation of the Plaintiff's
Constitutional rights, in that it:

a, allowed policies and procedures to continue in force and effect which
resulted in the use of outrageous and excessive force against Plaintiff;

b. had a custom and practice of failing to independently and adequately
investigate complaints of excessive force; and
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c, had a custom and practice of failing to effectively discipline or retrain
police officers who wrongfully utilized excessive force;

d, As a direct and proximate result of one or more of defendant Boston’s
foregoing wrongful acts or omissions to act, the Plaintiff sustained a
violation of his rights under the Fourth and Fourteenth Amendments to the
United States Constitution, injury to his person, pain, suffering, disability,
loss of income, mental anguish, humiliation, and other diverse injuries.

WHEREFORE, plaintiff requests judgment against defendant Boston in the

amount of $100,000.00 as and for compensatory damages, plus attorney's fees and costs
as provided in 42 U.S.C.A. § 1988.

COUNT I — VIOLATION OF THE MASSACHUSETTS CIVIL RIGHTS ACT,

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M.G.L. c. 12, §§ 11H and 114
(As Against Officer Castillo)

Plaintiff adopts by reference paragraphs | through 29 as if fully set forth herein.

The above-described deliberate actions of Officer Castillo constitute intimidation
and coercion within the meaning of M.G.L, c. 12, §§ 11 H and I.

Officer Castillo interfered with Plaintiff's right to be fee from excessive force and
unreasonable seizures as afforded to him by the United States Constitution and the
Massachusetts Constitution.

Officer Castillo interfered with Plaintiff's rights by threats, intimidation and
coercion as defined by M.G.L. c. 12 §§ 11 Hand I.

WHEREFORE, Plaintiff requests judgment against defendant Officer Castillo in
the amount of $500,000.00 as and for compensatory damages, plus attorney's fees
and costs.

COUNT IV — COMMON LAW BATTERY
(As Against Castillo)

Plaintiff adopts by reference paragraphs | through 33 as if fully set forth herein.

The above-described intentional actions of Officer Castillo constitute battery upon
Plaintiff.

Specifically, Officer Castillo voluntarily and intentionally assaulted and battered
Plaintiff so as to cause Plaintiff serious personal injuries.

Asa result of Officer Castillo’s actions, Plaintiff has suffered and will continue to
suffer severe and permanent physical and mental pain and anguish, physical
discomfort and inconvenience.
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WHEREFORE, Plaintiff requests judgment against defendant Officer Castillo in

the amount of $500,000.00 as and for compensatory damages, plus attorney's fees and

costs,

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COUNT V — NEGLIGENT SUPERVISION
(As Against Boston)

Plaintiff adopts by reference paragraphs | through 37 as if fully set forth herein.

The above-described actions of Boston constitute failure to adequately train,
supervise and manage Officer Castillo.

Boston owed a duty to Plaintiff to adequately train, supervise and manage Officer
Castillo.

Plaintiff was injured as a result of Boston’s breach of duty of care. -

It was reasonably foreseeable that Plaintiff would be injured as a result of
Boston’s negligent training, supervision and management of Officer Castillo.

Plaintiff was injured by Officer Castillo while he was working within the scope of
his employment for Boston.

WHEREFORE, Plaintiff requests judgment against defendant Boston in the

amount of $100,000.00 as and for compensatory damages, plus attorney's fees and costs.

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COUNT VI— NEGLIGENT SUPERVISION
(As Against Whiskey’s)

Plaintiff adopts by reference paragraphs 1| through 43 as if fully set forth herein.

The above-described actions of Whiskey’s constitute failure to adequately train,
supervise and manage Officer Castillo.

Whiskey’s owed a duty to Plaintiff to adequately train, supervise and manage
Officer Castillo.

Plaintiff was injured as a result of Whiskey’s breach of duty of care.

It was reasonably foresceable that Plaintiff would be injured as a result of
Whiskey’s negligent training, supervision and management of Officer Castillo.

Plaintiff was injured by Officer Castillo while he was working within the scope of
his employment for Whiskey’s.

WHEREFORE, Plaintiff requests judgment against defendant Whiskey’s in the

amount of $500,000.00 as and for compensatory damages, plus attorney's fees and costs.
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COUNT VIL — INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

(As Against Officer Castillo)
Plaintiff adopts by reference paragraphs 1 through 49 as if fully set forth herein.

Officer Castillo intended to inflict emotional distress upon Plaintiff or he knew or
should have known that emotional distress was the likely result of assaulting and

battering him, filing a false police report against him, and notifying his school of
the incident.

Officer Castillo’s conduct was extreme and outrageous, beyond all possible
bounds of decency and was utterly intolerable in a civilized society.

Officer Castillo’s conduct caused Plaintiff to suffer emotional distress.

Plaintiff’s emotional distress was severe and of a nature that no reasonable man
could be expected to endure it.

WHEREFORE, Plaintiff requests judgment against defendant Officer Castillo in

the amount of $500,000.0 as and for compensatory damages, plus attorney's fees and

costs.

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COUNT VIN—INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

(As Against Boston)
Plaintiff adopts by reference paragraphs | through 54 as if fully set forth herein.

Boston intended to inflict emotional distress upon Plaintiff or it knew or should
have known that emotional distress was the likely result of allowing its agents,
servants and/or employees to file a false police report against Plaintiff and
allowing them to report the incident to the Plaintiff's school.

Boston’s conduct was extreme and outrageous, beyond all possible bounds of
decency and was utterly intolerable in a civilized society.

Boston’s conduct caused Plaintiff to suffer emotional distress,

Plaintiffs emotional distress was severe and of a nature that no reasonable man
could be expected to endure it,

WHEREFORE, plaintiff requests judgment against defendant Boston in the

amount of $100,000.00 as and for compensatory damages, plus attorney's fees and costs.

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COUNT IX—INTENTIONAL INELICTION OF EMOTIONAL DISTRESS

(As Against Whiskey’s)

Plaintiff adopts by reference paragraphs | through 59 as if fully set forth herein.
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Whiskey’s intended to inflict emotional distress upon Plaintiff or it knew or
should have known that emotional distress was the likely result of allowing its
agents, servants and/or employees to assault and batter and then file a false police
report against Plaintiff.

Whiskey’s conduct was extreme and outrageous, beyond all possible bounds of
decency and was utterly intolerable in a civilized society,

Whiskey’s conduct caused Plaintiff to suffer emotional distress,

Plaintiffs emotional distress was severe and of a nature that no reasonable man
could be expected to endure it.

WHEREFORE, plaintiff requests judgment against defendant Whiskey’s in the

amount of $500,000.00 as and for compensatory damages, plus attorney's fees and costs.

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COUNT X—NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

(As Against Officer Castillo)
Plaintiff adopts by reference paragraphs | through 64 as if fully set forth herein.

Officer Castillo owed a duty of care to Plaintiff not to injure him and/or cause
emotional distress to him while Plaintiff was in his presence.

Officer Castillo breached his duty by assaulting and battering Plaintiff, causing a
false police report to be filed against him, and reporting the incident to his school.

Officer Castillo’s breach of duty caused physical harm to Plaintiffs person.

The damage caused to Plaintiff’s person resulted directly from Officer Castillo’s
negligence in assaulting and battering Plaintiff, causing a false police report to be
filed against him, and reporting the incident to his school.

As a result of Officer Castillo’s negligence, Plaintiff has suffered and will
continue to suffer severe and permanent physical and emotional distress,

Plaintiff’s emotional distress was severe and of a nature that no reasonable man
could be expected to endure it.

WHEREFORE, Plaintiff requests judgment against defendant Officer Castillo in

the amount of $500,000.00 as and for compensatory damages, plus attorney's fees and

costs,

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COUNT XI—NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

(As Against Boston)

Plaintiff adopts by reference paragraphs 1 through 71 as if fully set forth herein.
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73. Boston owed a duty of care to Plaintiff by properly training, managing or
supervising Officer Castillo not to injure him and/or cause emotional distress to
him while he was in the presence of Officer Castillo.

74. Boston breached its duty by not properly training, managing or supervising
Officer Castillo so as not to injure him and/or cause emotional distress to him
while he was in the presence of Officer Castillo.

75,  Boston’s breach of duty caused physical harm to Plaintiffs person.

76, The damage caused to Plaintiff's person resulted directly from failing to properly
train, manage or supervise Officer Castillo while Plaintiff was in the presence of
Officer Castillo.

77,  Asaresult of Boston’s negligence, Plaintiff has suffered and will continue to
suffer severe and permanent physical and emotional distress.

78. Plaintiffs emotional distress was severe and of a nature that no reasonable man
could be expected to endure it.

WHEREFORE, plaintiff requests judgment against defendant Boston in the
amount of $100,000.00 as and for compensatory damages, plus attorney's fees and costs.

COUNT XII—NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
(As Against Whiskey’s)

79, Plaintiff adopts by reference paragraphs 1 through 78 as if fully set forth herein.

80. Whiskey’s owed a duty of care to Plaintiff by properly training, managing or
supervising Officer Castillo not to injure him and/or cause emotional distress to
him while he was in the presence of Officer Castillo.

81. Whiskey’s breached its duty by not properly training, managing or supervising
Officer Castillo so as not to injure him and/or cause emotional distress to him
while he was in the presence of Officer Castillo.

82. Whiskey’s breach of duty caused physical harm to Plaintiff's person.

83. The damage caused to Plaintiffs person resulted directly from failing to properly
train, manage or supervise Officer Castillo while Plaintiff was in the presence of
Officer Castillo,

84. Asaresult of Whiskey’s negligence, Plaintiff has suffered and will continue to
suffer severe and permanent physical and emotional distress.
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85. Plaintiff's emotional distress was severe and of a nature that no reasonable man
could be expected to endure it.

WHEREFORE, plaintiff requests judgment against defendant Whiskey’s in the
amount of $500,000.00 as and for compensatory damages, plus attorney's fees and costs.

Based upon the foregoing, Plaintiff requests that this Honorable Court enter
judgment in its favor in the entirety against all Defendants as well as any other relief
deemed fair and just.

PLAINTIFF DEMANDS TRIAL BY JURY ON ALL COUNTS

Respectfully submitted,
The Plaintiff,

Alex Corbett,

By his Attorneys

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Dated: October L , 2013

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